                       Case 1:21-cv-06702-LAK Document 3 Filed 08/09/21 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

                   VIRGINIA L. GIUFFRE                                  )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                           Civil Action No. 21-cv-
                                                                        )
          PRINCE ANDREW, DUKE OF YORK,                                  )
          a/k/a ANDREW ALBERT CHRISTIAN                                 )
           EDWARD, in his personal capacity                             )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Prince Andrew, Duke of York
                                           Royal Lodge at Windsor Great Park
                                           Berkshire
                                           SL4 2JD
                                           United Kingdom



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: David Boies
                                           Boies Schiller Flexner LLP
                                           333 Main Street
                                           Armonk, NY 10504
                                           Phone: (914) 749-8200
                                           Fax: (914) 749-8300

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
